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   From:           Diane h
   To:             Mary Street
   Subject:        Re: ACM Naperville IL - Lease Administration / Rent Distribution
   Date:           Wednesday, March 17, 2021 2:30:02 PM
   Attachments:    Direct Deposit Form - Blank.pdf
                   W9 Blank.pdf
                   CAMS Lease Administration - Karmann Kasten^J LLC.pdf


   Hi
   The w9 needs a space for the EIN instead of SSN



   Thanks
   Kate


         On Mar 17, 2021, at 14:21, Mary Street <mstreet@mtnwest.com> wrote:



         Good afternoon Ms. Grant – please confirm receipt. I need your response to process rent
         disbursement.

         I am the Lease Administrator for the investment property you recently acquired
         through Millcreek Commercial. I collect rent from the tenant and disburse the
         proportionate share to each of the property’s owners each month. In order to get you
         set up to receive rent payments, I need to collect some information from you. I have
         attached the Lease Administration Agreement, Direct Deposit Form and W9 for your
         review. Please confirm receipt of this message and let me know if you have any
         questions. The attached documents have been sent to you through DocuSign for
         electronic signature.

         ACM Naperville
         Buyer: Kate Grant / Karmann Kasten, LLC
         Close Date: March 4, 2021
         Percentage: 3.0241%


         Sincerely,
         Mary Street
         Manager, CAMS Realty
         A Division of Mountain West Commercial Real Estate




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        CAMS
       REALTY
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       aerveils by
                eet!



                             Mary Street                 ​




                                D: 385.233.9415
                                C: 801.358.6279
                             mstreet@mtnwest.com
                                    View Bio
                              2015 W Grove Pkwy, Ste J
                              Pleasant Grove, UT 84062
                                 Office 385.233.9140
                                  www.mtnwest.com




                                                                                   DEF 001659
